Case: 6:13-cr-00048-GFVT-HAI             Doc #: 399 Filed: 04/16/19           Page: 1 of 5 - Page
                                           ID#: 1362



                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                  SOUTHERN DIVISION
                                        LONDON

 UNITED STATES OF AMERICA,                         )
                                                   )
         Plaintiff,                                )     Criminal No. 6:13-cr-48-GFVT-HAI-6
                                                   )
 V.                                                )
                                                   )
 WILLIAM WOOTEN,                                   )                     ORDER
                                                   )
         Defendant.                                )


                                        *** *** *** ***

       This matter is before the Court on the Recommended Disposition [R. 386] filed by

United States Magistrate Judge Hanly A. Ingram. The Defendant, William Wooten, is charged

with five violations of his supervised release conditions. Id. at 2. The five violations include

that he: twice committed “another federal, state, or local crime;” failed to “notify the probation

officer within seventy-two hours of being arrested or questioned by a law enforcement officer;”

failed to “notify the probation officer at least ten days prior to any change in residence or

employment;” and failed to have sufficient full-time employment or adequately look for

employment. Id. at 2-3. Judgment was originally entered against the Defendant in January 22,

2015, after Wooten was found guilty on one count for conspiracy to manufacture

methamphetamine. Id. at 1. He was originally sentenced to twenty-four months followed by a

three-year term of supervised release. Id. While in custody Wooten completed the Residential

Drug Abuse Program. Id. On July 6, 2016, Wooten was released and began his term of

supervision. Id.
Case: 6:13-cr-00048-GFVT-HAI            Doc #: 399 Filed: 04/16/19           Page: 2 of 5 - Page
                                          ID#: 1363



       On October 22, 2018, the United States Probation Office issued a Supervised Release

Violation Report which initiated these proceedings. Id. This report initially alleged four

violations but was later given an addendum alleging a fifth violation. Id.

       First, the Report complains that Wooten “commit[ted] another federal, state or local

crime.” Wooten violated this condition when he pled guilty to Public Intoxication Controlled

Substance (Excludes Alcohol) and was given thirty days of jail time. Id. at 2. This conduct

would constitute a Grade C violation. Id.

       Second, the Report alleges that Wooten failed to “notify the probation officer within

seventy-two hours of being arrested or questioned by a law enforcement officer.” Id. Failure to

provide timely notice of such an interaction is a Grade C violation. Id.

       Third, the Report alleged that the Defendant failed to “notify the probation officer at least

ten days prior to any change in residence of reemployment.” Id. When the Probation Officer

traveled to the Defendants last report residence, he was informed that Wooten had not lived there

for at least five months. Defendant’s failure to notify the probation office constitutes a Grade C

violation. Id.

       Fourth, the Report alleged a failure to notify the probation office within ten days prior to

any change in employment. Id. When the Probation Officer contacted Wooten’s last reported

place of employment, he was told that Wooten had not worked there for at least the five previous

months. Id. at 3. Wooten’s failure to inform the probation office is a Grade C violation. Id.

       Finally, the Addendum to the Report alleges that Wooten again violated the provision

that he “not commit another federal, state or local crime.” Id. For this violation, the Addendum

reports that the Defendant was arrested and charged with a Class D felony for Receiving Stolen

Property Under $10,000. Wooten was able to post $1,000 cash bond and released on October 30,
                                            2
Case: 6:13-cr-00048-GFVT-HAI              Doc #: 399 Filed: 04/16/19        Page: 3 of 5 - Page
                                            ID#: 1364



2018. This conduct constitutes a Grade B violation. Id.

       Wooten waived a formal hearing. Id. at 4. The Court found Wooten to have competently

entered a knowing, voluntary, and intelligent stipulation to all violations that had been charged

by the USPO in the Supervised Release Violation Report. [R. 385.] On March 8, 2019,

Magistrate Judge Ingram issued a Recommended Disposition which recommended revocation of

Wooten’s supervised release and a term of six months of imprisonment with an additional term

of eighteen months supervised release during which time he must live with his grandmother

unless the Court approves another residence in advance. [R. 386 at 8.]

       Judge Ingram appropriately considered the 18 U.S.C. § 3553 factors in coming to his

recommended sentence. Id. at 6. Wooten admission to using drugs and receiving stolen property

shows a willingness to engage in criminal conduct. Id. Unfortunately, Wooten’s substance

abuse problems have negatively affected his decision-making. Id. But Wooten was able to abide

by the terms of his supervised release for the first two years. Id. Judge Ingram found it credible

that he will be able to get back on track. Id. at 7.

       The need to deter criminal conduct weighs heavily in this case. Id. Wooten’s violations

were criminal in nature and had a direct impact on the public. Id. Therefore, a term of

imprisonment is necessary to achieve specific and general deterrence. Id.

       While Wooten has returned to drug use, the RDAP was successful in helping keep him

clean for a couple of years. Id. An additional term of supervision will help the probation office

determine and provide the treatment that Wooten needs. Id.

       Finally, Wooten’s violations are also a serious breach of the Court’s trust. The Defendant

has violated multiple terms of his release. Unfortunately, these multiple breaches of trust require

a term of imprisonment of six months, not the four months requested by the Defendant.
                                                3
Case: 6:13-cr-00048-GFVT-HAI            Doc #: 399 Filed: 04/16/19           Page: 4 of 5 - Page
                                          ID#: 1365



       Pursuant to Rule 59(b) of the Federal Rules of Criminal Procedure, the Recommended

Disposition further advises the parties that objections must be filed within fourteen (14) days of

service. Id. at 9. See 28 U.S.C. § 636(b)(1). No objections have been filed, and Defendant

Wooten submitted a waiver of allocution. [R. 390.] Generally, this Court must make a de novo

determination of those portions of the Recommended Disposition to which objections are made.

28 U.S.C. § 636(b)(1)(c). When no objections are made, as in this case, this Court is not

required to “review . . . a magistrate’s factual or legal conclusions, under a de novo or any other

standard.” See Thomas v. Arn, 474 U.S. 140, 151 (1985). Parties who fail to object to a

magistrate judge’s report and recommendation are also barred from appealing a district court’s

order adopting that report and recommendation. United States v. Walters, 638 F.2d 947 (6th Cir.

1981). Nevertheless, this Court has examined the record and agrees with Magistrate Judge

Ingram’s Recommended Disposition. Accordingly, and the Court being sufficiently advised, it is

hereby ORDERED as follows:

       1.      The Recommended Disposition [R. 386] as to Defendant William Wooten is

ADOPTED as and for the Opinion of the Court;

       2.      Defendant Wooten is found to have violated the terms of his Supervised Release

as set forth in the Report filed by the U.S. Probation Officer and the Recommended Disposition

of the Magistrate Judge;

       3.      Wooten’s Supervised Release is REVOKED;

       4.      Mr. Wooten is SENTENCED to the Custody of the Bureau of Prisons for a term

of six months of imprisonment:

       5.      An eighteen months term of supervised release under the conditions contained in

the Wooten’s previous revocation judgment [R. 310], with the added condition that Wooten must
                                              4
Case: 6:13-cr-00048-GFVT-HAI           Doc #: 399 Filed: 04/16/19         Page: 5 of 5 - Page
                                         ID#: 1366



reside with his grandmother unless the Court approves an alternative residence in advance.

       This the 15th day of April, 2019.




                                               5
